Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 1 of 13 PageID 890




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

GWEN MCCORRISTON

                        Plaintiff,

VS.                                                              Case No. 8:07-cv-160-T-27EA.J

L.W.T.,INC.,etal.,

                        Defendants.


                                               ORDER

        BEFORE THE COURT are: (1) Plaintiff's Motion for Summary Judgment (Dkt. 60), to

which Defendants have responded in opposition (Dkl. 63); and (2) Defendants' Cross-Motion for

Summary Judgment (Dkt. 63), to which Plaintiff has responded in opposition (Dkt. 65). Upon

consideration, Defendants' motion for summary judgment is GRANTED and Plaintiff's motion for

summary judgment is DENIED.

                                            Background

        On November 1, 1996, Plaintiff opened a Chase Manhattan Bank Visa credit card account

("the account"). (Dkt. 42, Sec. Am. Compl., q( 9). When Plaintiff failed to make one or more

payments, the account was closed by the credit card issuer on or about November 22,2002. (Dkt.

42,¶9). The account was thereafter assigned to Defendant L.W.T., Inc. ("LWT"). (Dkt. 44-2, LWT

Aff. q( 10). On January 12,2006, Defendant Shafritz, on behalf of Defendant Shafritz & Braten, P.A.

("the Law Firm"), sent a letter to Plaintiff with the statutorily-required notice that the account had

been assigned to LWT and that the Law Firm had been retained to collect the sum of $1 1,376.24.

(Dkt. 42, q[ 1I , Exh. A). Plaintiff does not contend that she responded to the letter.

                                                   1
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 2 of 13 PageID 891



         On April 5, 2006, LWT, acting through the Law Firm, filed suit against Plaintiff in the

County Court in and for Hillsborough County to collect the amount allegedly due. (Dkt. 42, Y[ 12).

That state court action was dismissed with prejudice on October 13, 2006 as time-barred under

Delaware's three year statute of limitations for actions between debtors and creditors. (Dkt. 42, Exh.

B). On November 19, 2007, the Circuit Court for Hillsborough County, Appellate Division,

affirmed the dismissal of the state coua action. (Dkt. 49-2).

                                         Procedural History

         On January 25,2007, Plaintiff filed this federal action, claiming: (1) Defendants violated the

Fair Debt Collection Practices Act ("FDCPA), 15 U.S.C. $9 1692, et seq., by filing a time-barred

lawsuit and because LWT was not registered as a "consumer collection agency," as required by

Florida law (Count I); and (2) Defendants violated the Florida Consumer Collection Practices Act

("FCCPA), Fla. Stat. 95 559.55 et seq. by sending the January 12,2006 letter even though suit on

the debt was time-barred (Count 11). On February 22,2008, this Court granted Defendants' motion

for summary judgment on Plaintiff's FDCPA for filing of a time-barred lawsuit, based on the

application of the statutory "bona fide error defense" and on Plaintiff's FCCPA claim, based on

Defendant's lack of actual knowledge that the lawsuit was time-barred. (Dkt. 54). Because the

parties failed to fully address the merits of Plaintiffs FDCPA claim for LWT's failure to register as

a consumer collection agency, Defendants' motion for summary judgment on this claim was denied.

The instant motions for summary judgment address this remaining portion of Plaintiffs FDCPA

claim.

                                              Standard

         Summary judgment is proper if following discovery, the pleadings, depositions, answers to
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 3 of 13 PageID 892




interrogatories, affidavits and admissions on file show that there is no genuine issue as to any material

fact and that the moving party is entitled to judgment as a matter of law. Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986); Fed. R. Civ. P. 56. "An issue of fact is 'material' if, under the applicable

substantive law, it might affect the outcome of the case." Hickson Corp. v. N. Crossam Co., 357 F.3d

1256, 1259-60 (1 lth Cir. 2004). "An issue of fact is 'genuine' if the record taken as a whole could

lead a rational trier of fact to find for the nonmoving party." Id. at 1260. All the evidence and factual

inferences reasonably drawn from the evidence must be viewed in the light most favorable to the

nonmoving party. Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970); Jackson v. BellSouth

Telecomms., 372 F.3d 1250, 1280 (1 1th Cir. 2004).

        Once a party properly makes a summary judgment motion by demonstrating the absence of a

genuine issue of material fact. whether or not accompanied by affidavits, the nonmoving party must

go beyond the pleadings through the use of affidavits, depositions, answers to interrogatories and

admissions on file, and designate specific facts showing that there is a genuine issue for trial. Celotex,

477 U.S. at 323-24. Plaintiff's evidence must be significantly probative to support the claims.

Ander.son v. Libert?, Lobby, Inc., 477 U S . 242, 249 (1986).

        The Court will not weigh the evidence or make findings of fact. Anderson, 477 U S . at 249;

Morrison v. Amway Corp., 323 F.3d 920,924 (1 1th Cis. 2003). Rather, the Court's role is limited to

deciding whether there is sufficient evidence upon which a reasonable juror could find for the non-

moving party. Id.

                                              Discussion

        In the remaining portion of Count I, Plaintiff alleges that Defendants violated the FDCPA

by attempting to collect a consumer debt uhile LWT was not registered as a consumer collection

agency, as required by the FCCPA. In order to prevail on an FDCPA claim, Plaintiff must

                                                   3
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 4 of 13 PageID 893




 demonstrate by a preponderance of the evidence that: (1) she was the object of collection activity

 arising from consumer debt; (2) Defendants are "debt collectors" as defined by the FDCPA; and (3)

Defendants have engaged in an act or omission prohibited by the FDCPA. See Fuller v. Becker &

Poliakofi PA., 192 F. Supp. 2d 1361, 1366 (M.D. Fla. 2002) (quoting Kaplun v. Assetcare, Inc., 88

F. Supp. 2d 1355, 1360-61 (S.D.Fla. 2000)).

        Defendants do not dispute that Plaintiff was the subject of a collection activity arising from

a consumer debt and that LWT was not registered as a "consumer collection agency." Defendants

 instead argue that: (1) LWT was not required to register as a consumer collection agency under the

FCCPA; (2) failure to register under the FCCPA does not constitute a violation of the FDCPA; and

(3) Defendants are entitled to prevail on the FDCPA's bona fidc error defense. As set forth below,

the Court finds that although LWT was required to register as a consumer collection agency under

the FCCPA, LWT's failure to register does not constitute a violation of the FDCPA.

I.      Failure to register as a "consumer collection agency" under the FCCPA

        Pursuant to the FCCPA, "no person shall engage in business in this state as a consumer

collection agency or continue to do business in this state as a consumer collection agency without

first registering in accordance with this part, and thereafter maintaining a valid registration." Fla.

Stat. 5 559.553(1). The FCCPA defines "consumer collection agency" as "any debt collector or

business entity engaged in the business of soliciting consumer debts for collection or of collecting

consumer debts, which debt collector or business is not expressly exempted as set forth in s.

559.553(4)." Fla. Stat. 5 559.55(7).

        LWT does not argue that any exemption to the registration req~kirementapplies. The issue

is thus whether LWT is: ( I ) a "debt collector;" (2) a "business entity engaged in the business of
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 5 of 13 PageID 894




soliciting consumer debts for collection;" or (3) a "business entity engaged in the business . . . of

collecting consumer debts."

a        Business entity enguged in the business of soliciting cotzsumer debts for collection

             In the February 21, 2008 Order on Defendants' first motion for summary judgment, this

Court noted that the parties failed to address whether LWT is in the business of soliciting consumer

debts for collection, which "may bring LWT within the reach of the registration requirement." (Dkt.

54 at 15). In assessing the application of this provision, the plain and ordinary meaning of the term

"solicit" governs. See State v. Brake, 796 So. 2d 522, 528 (Ffa. 2001) ("where a statute does not

specifically define words of common usage, such words are construed in their plain and ordinary

sense"). The plain meaning of the word "solicit" is: "to seek for (something) by entreaty, earnest

or respectful request, formal application, etc.; . . . to entreat or petition (someone or some agency)."

See Randurn House Unabridged Dictionuty 18 I6 (Stuart B. Flexner, et al. eds., 2d ed. 1993).

         LWT contends that it has not solicited the purchase of any of its charged off debt portfolios.

Specifically, Shafritz avers that LWT does not initiate any communications with portfolio sellers,

portfolio resellers, or any original creditors, banks or financial institutions. (Dkt. 6 1-2, LWT Supp.

Aff. 91% 4-7).' Shafritz also avers that LWT did not solicit in any way the purchase of the portfolio

that included Plaintiff's account from the prior owner, The Sagres Company. (LWT Supp. Aff. q[

8). These undisputed factual averments are sufficient, for summary judgment purposes, to meet

LWT's burden of demonstrating that LWT is not in the business of soliciting consumer debts for

collection.


         ' Plaintiff argues that LWT's affidavits (on which Plaintiff also relies, having not submitted any additional
record evidence) are not sworn to and that they can therefore not prevail on the elements of this defense. Plaintiff
provides no relevant authority in support of this argument. and the affidavits appear to be sworn to and notarized.
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 6 of 13 PageID 895




         In response. Plaintiff cites no record evidence contradicting Shafritz' assertions. For

instance, Plaintiff provides no evidence concerning the nature of LWT's initial or subsequent

contacts with the portfolio sellers, resellers, creditors, banks, or financial institutions. By failing to

provide any record evidence concerning the nature of LWT's coutacts with these entities, despite

ample opportunity to identify this as a pertinent issue and to conduct discovery, Plaintiff fails to

create any issue of material fact as to whether LWT solicits consumer debts for collection. See

Celotex, 477 U S . at 323-24 (once moving party has met its burden, the nonmoving party must

"designate specific facts showing that there is a genuine issue for trial.")

b.       Debt collector

         Plaintiff instead contends that LWT is a "debt collector" within the meaning of the FCCPA

and FDCPA and thus subject to the consumer collection agency registration requirement. "Debt

collector" is defined in the FCCPA as:

         any person who uses any instrumentality of commerce within this state, whether
         initiated from within or outside this state, in any business the principal purpose of
         which is the collection of debts, or who regularly collects or attempts to collect,
         directly or indirectly, debts owed or due or asserted to be owed or due another. . . .
         Fla. Stat. $ 559.55(6); see also 15 U.S.C. $ 1692a(6).

In response, LWT argues that it is not a debt collector, but is rather a "creditor."

         Federal courts addressing the parallel definition of "debt collector" in the FDCPA interpret

the definition to contain two disjunctive phrases, so that a debt collector includes anyone: ( 1 ) who

uses any instrumentality of commerce within the state "in any business the principal purpose of

which is the collection of debts," or (2) "who regularly collects or attempts to collect, directly or

indirectly, debts owed or due or asserted to be owed or due another."' See Wadlington v. Credit


         ' Pursuant to the FCCPA, .'due consideration and great weight" is afforded to interpretations of the federal
courts relating to the =PA.   Fla. Stat. 5. 559.77(5).
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 7 of 13 PageID 896




Acceptance Coup., 76 F.3d 103, 106 (6th Cir. 1996) (noting that business may be liable under first

prong, but not second); see e.g., Munoz v. Pipestone Fin., LLC 397 F. Supp. 2d 1129, 1133 (D.

Minn. 2005) (evaluating language in 15 U.S.C. $1692a(6)); Kvassay v. Hasty, 236 F. Supp. 2d 1240,

 1268 (D. Kan. 2002) (same).

         With respect to the first prong -- whether pursuant to the FCCPA LWT uses intrastate

communication in a business "the principal purpose of which is the collection of debts" -- Shafritz

avers that LWT "is a Florida corporation that purchases portfolios of charged off credit card accounts

and other types of loans." (LWT Aff. I[
                                      2).3 Shafritz also avers that LWT "does not have any

operations or employees to perform collection activities on the Portfolios it purchases" and "does

not have contact with consumers to perform collection activities, such as the forwarding of demand

letters, making telephone calls or any other form of collection activity." (LWT Supp. Aff. qCI[ 12,13).

Rather, LWT refers all debts to the Law Firm for collection, which handles all collection efforts.

Vd.>¶Y14, 15).

         While this Court accepts LWT's unrebutted evidence that it does not, itself, engage in

collection activities, it is undisputed that LWT's business is purchasing defaulted loans, and LWT

does not dispute its use of intrastate communication in the purchase of defaulted loans. In similar

circumstances, the Third Circuit Court of Appeals has determined that "there is no question that the

'principal purpose' of [defendantl's business is the 'collection of any debts,' namely, defaulted

obligations which it purchases from municipalities." Pollice v. National Tax Funding, L.P., 225

F.3d 379, 404 (3d Cir. 2000). This Coua agrees. While LWT does not engage in collection



         ' Although Shafrtiz also avers in LWT's Supplemental Affidavit that "LWT owns and holds real estate,
financial instruments, and charged-off debt portfolios" (LWT Supp. Aff. 9[ 3 ) , that does not negate or diminish
Shafritz' description of LWT's principal business of purchasing charged off dehts.

                                                         7
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 8 of 13 PageID 897




activities itself, LWT's principal business purpose is the collection of debts or there would be no

reason for it to purchase debt portfolios. Accordingly, LWT falls within the plain language of the

first prong of the "debt collector" definitiom4

         The analysis does not, however, end there. The FDCPA and FCCPA include six statutory

exceptions to the "debt collector" definition. See Fla. Stat. $j 559.55(6)(a)-(0; see also 15 U.S.C. 9

1692a(6)(A)-(F). Although LWT has not specifically invoked any of these exceptions, LWT does

generally claim that it is a "creditor." For the sake of completeness, the Court therefore evaluates

the application of the first statutory exception for "any officer or employee of a creditor while, in the

name of the creditor, collecting debts for such credit." Fla. Stat. $j 559,55(6)(a); see also 15 U.S.C.

(i 1692a(6)(A). Creditor is defined in the FCCPA and FDCPA as follows:

         The term "creditor" means any person who offers or extends credit creating a debt
         or to whom a debt is owed, but such term does not include any person to the extent
         that he receives an assignment or transfer of a debt in default solely for the purpose
         of facilitating collection of such debt for another." Fla. Stat. 5 559.55(3); see also
         15 U.S.C. $j 1692a(4).

         The Court does not reach the question of whether LWT is a "creditor" within the meaning

of this definition. Pursuant to the plain language of the statutory exception, this Court finds, in

contrast to the authority below, that the exception does not exclude "creditors" generally, only

officers or employees of creditors collecting debts in the creditor's name. See S. Rep. 95-382 at 3

(1977) (exception includes "in house" collectors for creditors). This exception is not applicable in

this case because Shafritz has averred that LWT "does not have any operations or employees to

perform collection activities on the Portfolios it purchases." (LWT Supp. Aff. f. 12). Accordingly,


           The case cited by Defendants relating to the New York City debt licensing law is distinguishable, as that
pertinent code defined "debt collection agency" as "a person engaged in business the princi~alpurpose of which is to
regularly collect or attempt to collect debts." See Kuhne v. Cohen & Slamowirz, No. 07civl364, 2008 WL 608607,
at "3 (S.D.N.Y. Mar. 5.2008).
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 9 of 13 PageID 898




regardless of whether LWT is a creditor, it does not fall within the officer or employee exception to

the "debt collector" definition. LWT does not argue that any of the other five exceptions apply. See

 15 U.S.C. 8 1692a(6)(B)-(F).

         This Court acknowledges that a number of courts have held that the officer or employee

exception applies to "creditors" themselves. See e.g., Catencump v. Cendant Timeshare Resort

Group-Consumer Finance, Inc., 471 F.3d 780,781 (7th Cir. 2006); Kimher v. Fed. Fin. Corp., 668

F. Supp. 1480, 1484 (M.D. Ala. 1987) (citing S.Rep. No. 95-382). However, these courts also

consistently employ a bright line rule and hold that "the Act treats assignees as debt collectors if the

debt sought to be collected was in default when acquired by the assignee, and as creditors if it was

not." Schlosserv. Fuirbuuks Capitul Corp., 323 F.3d 534,536 (7thCir. 2003); see Pollice, 225 F.3d

at 403-04 (3d Cir. 2000); Wadlington, 76 F.3d at 106; Perry v. Stewart Title Co., 756 F.2d 1197,

 1208 (5th Cir. 1985).'

         Although it is undisputed that LWT was an assignee or transferee of Plaintiff's debt, it is also

undisputed that Plaintiff's loan was in default when it was assigned or transferred to LWT. (Dkt.

42, qfn:9-10; Am., Dkt. 55,      a9-10). LWT would thus not be considered a creditor under this line
of cases because Plaintiff's loan was in default at the time it was assigned or transferred to LWT.



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              This holding is an apparent amalgamation of the definition of creditor, which excludes any person who
"receives an assignment or transfer of a debt in default solely for the purpose of facilitating ctillection of such debt
for another" and the sixth exception to the definition of "deht collector," which excludes any person collecting "a
debt which was not in default at the time it was obtained by such person." Although the Court does not reach the
issue of whether LWT is actually a creditor, it is noted that the precedent on this issue fails to pay heed to the plain
meaning of the assignee exception, which applies only to those persons who receive an assignment of a debt in
default "solely for the purpose of faciiitatirtg collection of such deht for another." As Congress has included these
phrases, this Court must assume that it was not mere surplusage and that Congress meant what it said. See United
States v. DBB. Inc., I80 F.3d 1277, 1285 (I I th Cir. 1999) ("A statute should he interpreted so that no words shall be
discarded as meaningless, redundant, or mere surplusage.") (internal quotations omitted); Stzotz v. Ci@of Plmrrition,
344 F.3d 1161, 1167 ( 1 Ith Cir. 2003) (courts "must presume that Congress said what it meant and meant what it
s a i d ) (internal quotations omitted).
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 10 of 13 PageID 899




          For the foregoing reasons, the Court finds that LWT has not demonstrated that it falls within

 an exception to the "debt collector" definition and that it constitutes a "deht collector" as defined by

 the FCCPA and FDCPA. Because "debt collectors" are included in the definition of "consumer

 collection agency," Fla. Stat. 5 559.55(7), LWT is a "consumer collection agency" pursuant to the

 FCCPA. See also Fla. Stat. 3 559.553(4)(a) (exempting only "original" creditors from the

 registration requirement.). As LWT has not argued that any exemptions to the registration

 requirement apply, Fla. Stat. $559.553(4), LWT was required to register as a consumer collection

 agency.

 2.       Failure to register under the FCCPA as a violation of the FDCPA

          The remaining portion of Count I alleges that Defendants' debt collection activities while

 LWT was not registered as a consumer collection agency violated several sections of the FDCPA.

 Whether a challenged activity constitutes a violation of the FDCPA exists is determined by

 application of the "least sophisticated consumer" standard. Jeter v. Credit Bureau, Inc., 760 F.2d

 1168, 1175 (11th Cir. 1985).

          First, Plaintiff contends that Defendants violated 15 U.S.C. $ 1692e(5), which prohibits a

 deht collector from making a "threat to take any action that cannot legally be taken or that is not

 intended to be taken." The only activity undertaken by Defendants within the statute of limitations

 in this case was the filing of the state court l a w ~ u i t This
                                                              . ~ Court previously held that the filing of the

 state court lawsuit does not constitute a "threat" within the meaning of $ 1692e(5). (Dkt. 18 at 2-3:

 see also Dkt. 54 at 7, n.2). Thus, it is immaterial whether the threatened activity could be "legally

 taken" due to LWT's failure to register. Plaintiff's claim pursuant to $ 1692e(5) therefore fails. See


             This Court previously held that Plaintiff's claim based on the January 12, 2006 dunning letter was barred
 by the statute of limitations, which Plaintiff did not dispute. (Dkt. 54 at 4).
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 11 of 13 PageID 900




 also Ferguson v. CreditMgrn't Control, Inc., 140 F. Supp. 2d 1293,1302 (M.D. Fla. 2001) (holding

 that defendant did not violate 5 1692e(5) by failing to register with Florida Department of Banking

 before sending collection letter, as defendant did not make any threat).

        Plaintiff also argues that Defendants are liable under 15 U.S.C. # 1692f, which generally

 prohibits the use of "unfair or unconscionable means" to collect a debt. Defendants object to the

 extent Plaintiff seeks to recover under 5 1692f, arguing that Plaintiff did not plead it in the Amended

 Complaint. Defendants are not correct, as the Amended Complaint alleges that "actions of the

 Defendants as set forth above constitute violations of 15 U.S.C. #1692e, $1692e(2)(A), #1692e(5),

 # 1692e(l0), 5 1692f, and 5 1692f(1)." (Dkt. 42, 'f 16). While this is, as Defendants now note, a

 shotgun pleading, Defendants had adequate notice that Plaintiff was relying on # 1692f, as well as

 the other specified statutory sections.

         Nonetheless, the Court does not find persuasive Plaintiff's argument that failure to register

 as a debt collector is a "means to collect a debt or attempt to collect a debt" under # 1692f. Failure

 to register simply does not constitute a "means" as do the enumerated examples in the statute. But

 see LeBlanc v. Untfund CCR Partner~s,G.P., --- F. Supp. 2d ---,2008 WL 1994980, 11 (M.D. Fla.

 May 8,2008) (citing Kuhn v. Account Control Tech., Inc., 865 F. Supp. 1443,1452 (D. Nev. 1994)

 (holding that failure to register "deprived [Kuhnl of her right as a consumer debtor residing within

 the state to have the defendant's qualifications as a collection agency reviewed by state

 authorities.")). Rather, to the extent that Plaintiff was deprived of any right to administrative review

 of LWT's qualifications by LWT's failure to register, "her remedy lies in [Florida] state law, not in

 Section 1692f of the FDCPA." Wude v. Reg'l Credit Assh, 87 F.3d 1098, 1101 (9th Cir. 1996)

 (disagreeing with Gaetano v. Payco afWis., Inc., 774 F. Supp. 1404,1414-15 (D. Conn. 1990)); see
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 12 of 13 PageID 901




 also Fla. Stat. 5 559.725 (providing consumer complaint procedure)?

          For these same reasons, the Court finds that Plaintiff's claim under the remaining provisions

 of 5 1692e fails. Section 1692e generally prohibits the use of" any false, deceptive or misleading

 representation or means in connection with the collection of any debt." 15 U.S.C. 51692e (emphasis

 added). Section 1692e(10) prohibits "[tlhe use of any false representation or deceptive means to

 collect or attempt to collect any debt or to obtain information concerning a consumer." 15 U.S.C.

 $ 1692e(10) (emphasis added). In addition to failing to identify any "means," Plaintiff has failed to

 identify any misrepresentation relevant to LVJT's failure to register. See Wade, 87 F.3d at 1100

 (noting that "[tlhere was no false representation that RCA had the power to collect in Idaho"

 sufficient to invoke 1692e(10)); Ferguson, 140 F. Supp. 2d at 1303; Thibodeuu v. CreditAdjustment

 Bureau, No. 8:06-cv-509, 2006 WL 3498159, at *2 (M.D.Fla. Dec. 4, 2006); cf: Grretano, 774 F.

 Supp. at 1414-15 (finding violation where defendant expressly stated it was a licensed collection

 agency when it was not).

          Similarly, 5 1692e(2)(A) prohibits the false representation of "the character, amount, or legal

 status of any debt." 15 U.S.C. 5 1692e(2)(A). Again, Plaintiff has identified no false representation,

 and failing to register does not constitute misrepresentation of the legal status of a debt. See

 Guetano, 774 F. Supp. at 1415.

          Finally, Plaintiff alleges that Defendants violated 3 1692f(1),which prohibits "[tlhe collection

 of any amount (including any interest, fee, charge, or expense incidental to the principal obligation)


          '  Morever. even if Plaintift9s S. l692f claim is read to include LWT's filing of the time-barred state court
 lawsuit while it was not registered, that claim would be entirely duplicative of the separate claim based on the filing
 of the time-barred lawsuit, which this Court previously held was defeated by application of the bona fide error
 defense. (Dkt. 54 at 8-13). Accordingly, the filing of the lawsuit was not unfair or unconscionable, See Pescarrice
 v. Oroviiz, 539 F. Supp. 2d 1375, 1379-80 (S.D. Fla. 2008) (tiling of time-barred lawsuit was not itself unfair or
 unconscionable where bona fide error defense applied).
Case 8:07-cv-00160-JDW-E_J Document 73 Filed 08/07/08 Page 13 of 13 PageID 902




 unless such amount is expressly authorized by the agreement creating the debt or permitted by law."

 15 U.S.C. 3 1692f. LWT's failure to register is not relevant to the application of this provision, as

 the focus of this provision "is on the amount of the debt to be collected, rather than the collector's

 authorization to collect any debt, whatever its amount." Gaetano, 774 F. Supp. at 1415-16. Plaintiff

 has not alleged that Defendants collected any amount that was not permitted by law. For this reason,

 Plaintiffs 5 1692f(1) claim fails.

                                             Conclusion

         Based on the foregoing, the Court finds that Plaintiff has failed to demonstrate that

 LWT's failure to register as a "consumer collection agency" constitutes a violation of the FDCPA,

 under the facts of this case. Accordingly, it is ORDERED and ADJUDGED:

         1)     Plaintiffs Motion for Summary Judgment (Dkt. 60) is DENIED.

         2)     Defendants' Cross-Motion for Summaty Judgment is GRANTED.

         3)     All pending motions are DENIED AS MOOT.

         4)     The Clerk is directed to CLOSE this case and enterjudgment in favor of Defendants.

         DONE AND ORDERGD in chambers this                     day of August, 2008




 Copies to:
 Counsel of Record
